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                                 NORTHERN DISTRICT OF CALIFORNIA
15
     RESOURCE RENEWAL INSTITUTE;                        Case Number: 4:22-cv-00145-KAW
16   CENTER FOR BIOLOGICAL DIVERSITY;
17   and WESTERN WATERSHEDS PROJECT,                    DECLARATION OF PAULETTE PERCY

18                 Plaintiffs,
19   v.
20
     NATIONAL PARK SERVICE, a federal
21   agency,
22                 Defendant,
23
     POINT REYES SEASHORE RANCHERS
24   ASSOCIATION,
25                 Proposed Defendant-
26                 Intervenor.

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     DECLARATION OF PAULETTE PERCY                                          4:22-cv-00145-KAW
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